          Case 4:19-cv-01424-YGR Document 173 Filed 08/30/20 Page 1 of 4




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August 28, 2020                                                                         jjudd@buchalter.com




Hon. Yvonne Gonzalez Rogers
United States District Court
N.D. California -- Oakland Division

        Re:     Pretrial Conference Statement of The Vineyard House re: Trial Date for The
                Vineyard House v. Constellation Brands U.S. Operations, Inc. (N.D. Cal. Case
                No. 4:19-cv-1424-YGR)

To The Court:

         For over a week, The Vineyard House, plaintiff in the above-referenced action (TVH),
attempted unsuccessfully to engage defendant, Constellation Brands U.S. Operations, Inc.
(CBUSO) in a discussion about the trial commencement date. During the Court Zoom
conference on August 19, 2020, the Court advised that trial would be set for October 2020, that
the Court was unavailable on October 22 and 23, 2020, and that it was otherwise available to
preside over 7 trial days in October. The Court provisionally set October 5 as the first day of
trial, and directed the parties to determine the availability of witnesses and to meet and confer
about deadlines for remaining pre-trial submissions.

        Toward the conclusion of the August 19 conference, the undersigned was reminded that
the family of Peter Bales, one of TVH’s trial lawyers, is expecting that their son will be born on
October 1, 2020. As a result, I requested that trial start later in October, to allow Peter to help
during the initial two weeks after their son is brought home. Immediately after the August 19
Court conference concluded, I wrote to Ed Colbert, CBUSO’s lead trial lawyer, as follows:

                I had completely forgotten about the due date for Peter's baby.
                Would Constellation be willing for trial to be: 10/19, 10/20, 10/21,
                10/26, 10/27, 10/28, and 10/29? That way Peter can help out for
                10-12 days at home after the baby arrives. If that is acceptable, we
                would propose submitting our supplemental Exhibits list on 9/21
                and Proposed Findings of Fact & Conclusions of Law on 10/5.
                Please advise. Thank you




BN 41544718v1
          Case 4:19-cv-01424-YGR Document 173 Filed 08/30/20 Page 2 of 4




Hon. Yvonne Gonzalez Rogers
August 28, 2020
Page 2

        On Tuesday, August 25, 2020, I received an email from Erik Kane, which stated:

                We have confirmed availability of our witnesses for the Judge’s
                proposed trial date of October 5. There may be some shuffling
                required as all of our experts have conflicts October 13-14, but
                they all are available the first week (one expert only has
                availability the first three days of trial). Some witnesses have
                conflicts unfortunately in the later dates you proposed in October,
                so we will need to keep the Court’s suggested October 5 date.

        On Wednesday, August 26, 2020, I responded to Mr. Kane’s email, as follows:

                I tried to send the below email to you yesterday morning, but it
                appears to have gotten hung up in my Outbox. You may still
                receive it i[n] due course. [¶] In any event, please provide the
                specific details regarding the conflicts you allude to over the period
                10/19-21 and 10/26-29, so that we can see if it is possible with
                TVH’s cooperation to resolve the conflict. As you know, Peter
                Bales’ wife is due to deliver their son on October 1, and I would
                hate to see the trial interfere with Peter’s ability to be with his
                family during the extremely difficult 2 weeks immediately after
                you bring a new baby home. [¶] I did not understand the court to
                be set on 10/5, and we will push hard to try and maximize the time
                Peter has to spend with his family immediately after the baby has
                arrived. Please advise. Thank you.

        Mr. Kane responded Thursday, August 27, 2020, as follows:

                We have a few conflicts with the later timeframe proposed. First,
                Mr. Cissel is testifying in another trial then and indicated he would
                be completely unavailable from mid-October until the end of the
                month. Dr. Reibstein has teaching obligations that he cannot move
                during that timeframe except for the very first two days of trial. In
                addition, Ms. Cadamatre will be crushing grapes and making the
                wines (depending on the grape involved in the early/late harvests)
                and it would be very disruptive to pull the chief winemaker away
                during this period. Moreover, Ms. Baron has a number of high
                level meetings and the constant shifting of the trial date is very
                disruptive to the executives involved. Finally, most of our trial
                team has preexisting scheduling conflicts. We have an oral
                argument in the Second Circuit as well as a non-extensible




BN 41544718v1
          Case 4:19-cv-01424-YGR Document 173 Filed 08/30/20 Page 3 of 4




Hon. Yvonne Gonzalez Rogers
August 28, 2020
Page 3

                arbitration that will require briefing during that period and will be
                going to final hearing and tying us up through November 2. All of
                these things we had planned around the August 31 trial date and
                are now locked in. While we can be tight on our timing and jump
                from one trial to the next with the October 5 trial date, we cannot
                do so that late in the month. [¶] We appreciate Peter’s desire to
                take his paternity leave, but we just don’t have the flexibility to
                move things any later without delaying this case for at least a
                month. [¶] Please let us know how you would like to proceed.

        On Friday, August 28, 2020, I responded as follows:

                I am a bit disappointed at the vague description and non-specific
                timing of the conflicts you state are present during October 19-29,
                which apparently are not present October 5-14, as follows:

                1. Robert Cissel – “completely unavailable from mid-October
                   until the end of the month”
                2. David Reibstein – available 10/19-20; completely unavailable
                   10/21-29 due to “teaching obligations”
                3. Nova Cadamatre – “will be crushing grapes and making the
                   wines (depending on the grape involved in the early/late
                   harvests) and it would be very disruptive to pull the chief
                   winemaker away during this period
                4. Elizabeth Baron – has a number of high level meetings and the
                   constant shifting of the trial date is very disruptive to the
                   executives involved

                Given that there is no travel involved, and that the estimated times
                for all of these witnesses to provide testimony indicate that Mr.
                Cissel, Prof. Reibstein, and Ms. Baron are unlikely to take more
                than an hour on the stand, and that Ms. Cadamatre faces the same
                challenges the first half of October as compared with the latter
                half, it is not at all clear to me that these witnesses cannot appear at
                trial between 10/19-29. I again ask for more specific information
                about the conflicts that prevent these witnesses from appearing, in
                the belief that we can, if presented with specific conflicts, probably
                accommodate them. If you have no interest in engaging in such a
                detailed discussion, we should probably just present our respective
                positions to the court and let the court set the trial date.




BN 41544718v1
          Case 4:19-cv-01424-YGR Document 173 Filed 08/30/20 Page 4 of 4




Hon. Yvonne Gonzalez Rogers
August 28, 2020
Page 4

        Later that day, Mr. Kane responded as follows:

                We unfortunately will have to agree to disagree. This case has
                been regularly disruptive and we tried to be accommodating given
                your IT issues. I sent you a proposed stipulation for pretrial
                deadlines working off the October 5 date that the Court already
                reset the trial for. We plan on filing with the Court at 5p ET our
                schedule. Let us know if you are stipulating, otherwise we can file
                unilaterally our proposal and you can respond as needed.

         TVH stipulated to the pretrial submission deadlines CBUSO proposed and on Friday,
August 28, 2020, the parties jointly submitted a proposed order that can accommodate the
October 5, 2020, trial start date. TVH respectfully requests, however, that the Court order trial to
commence on a later date, to give Mr. Bales’ family the opportunity to integrate a new baby into
their home. My personal experience was that the first several weeks after bringing our second
baby home was extremely challenging: I simply can’t imagine how I could have managed to be
in trial during that time. Moreover, I believe that bringing a new baby home when the father is
unable to be meaningfully involved unnecessarily presents a possibility of long-standing adverse
consequences.

        I had hoped to engage CBUSO’s counsel in a detailed discussion about how we might
manage witness testimony. Indeed, I am prepared to make substantial concessions that in theory
would not affect CBUSO’s current witness schedule materially. Since CBUSO’s counsel has not
been willing to engage in such a discussion, however the only remaining option is to appeal
directly to the Court.

       We are prepared to discuss this during our August 31, 2020, Zoom conference, and
appreciate the Court’s consideration. Thank you.

                                            Sincerely,

                                            BUCHALTER
                                            A Professional Corporation




                                            Jeffrey Judd




BN 41544718v1
